Case 0:12-cr-60011-RNS Document 369 Entered on FLSD Docket 09/18/2012 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                           Case No. 12-60011-CR-ROSENBAUM/SNOW


  UNITED STATES OF AMERICA,

                         Plaintiff,

  v.

  ANDRE D. BARBARY, et al.,

                         Defendants.
                                         /


                      ORDER REQUIRING RESPONSE FROM PARTIES

          This matter is before the Court on an independent review of the record. The Court notes that,

  earlier in this case, Defendant Tamika Jasper-Barbary filed her Motion for Severance [D.E. 234], in

  which she stated her intention to present, among other evidence, evidence that her husband and Co-

  defendant Andre D. Barbary hid his extra-marital affairs from her. As Defendant Jasper-Barbary

  explains her theory of the case, because Barbary allegedly deceived Jasper-Barbary regarding his

  extramarital affairs, he was likewise able to and did hide from her his alleged drug-trafficking

  activity.

          Previously, the Honorable Robert N. Scola, Jr., denied Defendant Jasper-Barbary’s Motion

  for Severance, explaining that although Jasper-Barbary had described a potential conflict between

  her stated defense and the interests of her husband, the conflict was “premature and somewhat

  speculative.” D.E. 292 at 2. Judge Scola further noted that although Co-defendant Barbary appeared

  to be the one to whom any prejudice resulting from Defendant Jasper-Barbary’s stated defense might

  fall, Barbary had not moved for a severance. Id. at 2-3, 3 n.1.
Case 0:12-cr-60011-RNS Document 369 Entered on FLSD Docket 09/18/2012 Page 2 of 2




            According to Jasper-Barbary, Barbary intends to oppose the introduction of any evidence that

  Jasper-Barbary might present that would demonstrate that Barbary had concealed alleged

  extramarital affairs from her. See id. at 3 n.1. Particularly in light of this Court’s recent severance

  of Co-defendant Jackson’s trial from the trial of the remaining Defendants, this Court wishes to

  resolve any issues potentially requiring severance now so as to avoid holding more than two trials,

  if possible. Therefore, in view of Jasper-Barbary’s intended defense, by September 26, 2012,

  Defendant Andre D. Barbary shall file any opposition that he may have to the admissibility

  of Jasper-Barbary’s intended evidence regarding her theory of defense and any motion for

  severance or alternative motion for severance relating to Jasper-Barbary’s theory of defense.

  By October 3, 2012, the Government shall file a response to any such filing, stating its position

  on the filing and the basis for that position. Failure to file timely opposition to Defendant

  Jasper-Barbary’s intended evidence regarding her theory of defense set forth here and in her

  Motion for Severance [D.E. 234] may result in waiver of the issue.

            DONE AND ORDERED at Fort Lauderdale, Florida, this 18th day of September 2012.




                                                          ROBIN S. ROSENBAUM
                                                          UNITED STATES MAGISTRATE JUDGE

  copies:          Counsel of Record




                                                    -2-
